 ~AO 24SB        (Rev. 12103) Judgment in a Criminal Case
,, NCED          Sheet I


                                              UNITED STATES DISTRICT COURT
                           Eastern                                            District of                                    North Carolina
            UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                   v.
                    Tron Lakey Davis                                                   Case Number: 4:13-CR-6-180
                                                                                       USM Number: 57361-056
                                                                                       William Woodward Webb, Jr.
                                                                                       Defendant's Attorney
THE DEFENDANT:
!!?Pleaded guilty to count(s)           .::6:....:a::.n.:.;:d:....:7:...o~f.::th:..:.;e:..:.:.ln:.:d.:.;:lc:::.tm:..:.;e::.n.:.;.t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
0 pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                      Nature of Offense                                                                Offense Ended             .Qmn!
21   u.s.c. § 841(8)(1)                                Distribution of a Quantity of Marijuana.                                     August 17, 2012             6
                                                                                                                                                                7
18 U.S.C. § 924(c)(1)(A)                              Use and Carry a Firearm During and In Relation to a Drug                      August17,2012
                                                      Trafficking Offense.



       The defendant is sentenced as provided in pages 2 through                       __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~nt(s)            1 th 5 and 8 of the Indictment                 D is         IB1i'Te dismissed on the motion of the United States.

         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notifY the court and United States attorney of material clianges in economtc circumstances.
 Sentencing Location:                                                                  11/15/2013
     Raleigh, North Carolina                                                          Date oflmposition of Judgment




                                                                                       Terrence W. Boyle             US District Judge
                                                                                      Name and Title of Judge

                                                                                       8/21/2015
                                                                                      Date




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AO 245B       (Rev. 12/03) Judgment in Criminal Case
   NCED       Sheet 2 -Imprisonment

                                                                                                      Judgment- Page      2   of   6
DEFENDANT: Tron Lakey Davis
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                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Count 6 - 60 months.
 Count 7 - 240 months and shall run consecutive to Count 6.
 The defendant shall receive credit for time served.


  ~       The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends FCI Butner for incarceration.




  ~       The defendant is remanded to the custody of the United States Marshal.

  D       The defendant shall.surrender to the United States Marshal for this district:

          D     at    - - - - - - - - - - D a.m.                D p.m.       on

          D     as notified by the United States Marshal.

  D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          DD    before      p.m. on

          DD    as notified by the United States Marshal.   D      Or

          D     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a ' - - - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                            By   ----------~~~~~~~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




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AO 2458      (Rev. 12/03) Judgment in a Criminal Case
     NCED    Sheet 3 - Supervised Release
                                                                                                         Judgment-Page __3._ of               6
DEFENDANT: Tron Lakey Davis
CASE NUMBER: 4:13-CR-6-180
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     Count 6. LIFE· Count 7 • 5 years concurrent with Count 6.
       The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anY. unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.                                                                                          .
  The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D substance abuse.
¢       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
~       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
1.      The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
        officer.
2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
        complete written report within the first five (5) days of each month.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.      The defendant shall support the defendant's dependents and meet other family responsibilities.
5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
        acceptable reasons.
6.      The defendant shall notifY the probation officer at least then (10) days prior to any change of residence or employment.
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possessbuse distribute, or administer any controlled
        substance, or any paraphernalia related to any controlled substance, except as prescribed y a physician.
8.      The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
        places specified by the court.                                                                                      ·
9.      The defendant shall not associate with any P.ersons engag_ed in criminal activity, and shall not associate with any person convicted of
        a felony unless granted permission to do so by the probation officer.
10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view by the probation officer.
11. The defendant shall notifY the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
    officer.
12. The 4ef!lndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    penmsston of the court.
13. As directed by the probation officer, the defendant shall notifv third parties of risks that may be occasioned bv the defendant's
        criminal record or personal history or characteristics, and shan perm1t the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.                                           .




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A0245B   (Rev. 12/03) Judgment in a Criminal Case
  NCED   Sheet 3C - Supervised Release
                                                                                           Judgment-Page _A..,_ of           6
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                                       SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall not Incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall provide the probation office with access to any requested financial Information.




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AO 245B     (Rev. 12/03) Judgment in a Criminal Case
    NCED    SheetS- Criminal Monetaiy Penalties
                                                                                                   Judgment-Page ~ of              -.......16"----
DEFENDANT: Tron Lakey Davis
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                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                            Restitutjon
TOTALS             $ 200.00                                       $                                    $


D The detennination of restitution is deferred until ___.         An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      Ifthe defendant makes a partial payment, each payee shall receive an approximately proJlortioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is patd.

Name of Payee                                                         Total l,oss•         Restitution Ordered Priority or Percentaee




                                  TOT~AL~S     ____________                       $0.00                     $0.00


DO    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

00    The defendant must pay interest on restitution and a tine of more than $2,500, unless the restitution or tine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
  D the interest requirement is waived for the 0 fine D restitution.
  0 the interest requirement for the 0 fine 0 restitution is modified as follows:

"'Findings for the total amount oflosses are req_uired under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before Apri123, 1996.




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AO 245B      (Rev. 12/03) Judgment in a Criminal Case
    NCED     Sheet 6- Schedule of Payments

                                                                                                           Judgment- Page   __a__     of       6
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      0 Lump sum payment of$ - - - - - - due immediately, balance due
             0     not later than _...;...._ _ _ _ _ _ _ , or
             0     in accordance          0 C, 0 D, 0 E, or                  D F below; or
B      0 Payment to begin immediately (may be combined with               0 C,        D D, or      D F below); or
C      0    Payment in equal              (e.g., weekly, monthly, quarterly) installments of $                       over a period of
           - - - - (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D      O Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
             --~-         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
             tenn of supervision; or
E      0     Payment during the tenn of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F      ri/   Special instructions regarding the payment of criminal monetary penalties:

             Payment of the special assessment shall be due immediately.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal moneta!)' penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.                                   ·

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa}'Ulents shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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